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1    HEATHER E. WILLIAMS, CA Bar #122664
     Federal Defender
2    VICTOR M. CHAVEZ, CA Bar #113752
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, CA 93721-2226
     Telephone: (559) 487-5561
5
     Attorneys for Defendant
6    GARY LEE PASSMORE

7
                              IN THE UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
      UNITED STATES OF AMERICA,                   )   Case No. 1:15-cr-00288 LJO-SKO
11                                                )
                       Plaintiff,                 )   WAIVER OF DEFENDANT’S PERSONAL
12                                                )   PRESENCE; ORDER THEREON
      vs.                                         )
13                                                )   DATE: January 19, 2016
                                                  )   TIME: 1:00 PM
14    GARY LEE PASSMORE,                          )   JUDGE: Hon. Sheila K. Oberto
                                                  )
15                    Defendant.                  )

16          Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, GARY LEE PASSMORE, having been

17   advised of his right to be present at all stages of the proceedings, hereby requests that this Court

18   proceed in his absence on every occasion that the Court may permit, pursuant to this waiver.

19   Defendant agrees that his interests shall be represented at all times by the presence of his

20   attorney, the Office of the Federal Defender for the Eastern District of California, the same as if

21   Defendant were personally present, and requests that this court allow his attorney-in-fact to

22   represent his interests at all times. Defendant further agrees that notice to Defendant's attorney

23   that Defendant's presence is required will be deemed notice to the Defendant of the requirement

24   of his appearance at said time and place.

25          Mr. Passmore resides near Tacoma, Washington and he wishes to limit the hardship of

26   such travel.

27   ///

28   ///
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 1            DATED: November 10, 2015               /s/ Gary Lee Passmore
                                                     GARY LEE PASSMORE
 2
 3            DATED: November 10, 2015               /s/ Victor M. Chavez
                                                     VICTOR M. CHAVEZ
 4                                                   Assistant Federal Defender
                                                     Attorney for GARY LEE PASSMORE
 5
 6
 7
 8
                                                     ORDER
 9
10
              GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s appearance
11
     may be waived at any and all proceedings for which such waiver is permitted under Fed. R.
12
     Crim. P. 43 until further order of the court.
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14
     IT IS SO ORDERED.
15
     Dated:      November 13, 2015                               /s/ Sheila K. Oberto
16                                                         UNITED STATES MAGISTRATE JUDGE
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     PASSMORE Waiver of Personal Appearance            2
